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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )          CRIMINAL NO. 07-00615 SOM
                              )
                Plaintiff,    )
                              )          ORDER DENYING BENJAMIN ACUNA’S
          vs.                 )          MOTION TO RECONSIDER ACUNA’S
                              )          MOTION FOR CHANGE OF VENUE
BENJAMIN ACUNA,      (1)      )
                              )
                Defendant.    )
_____________________________ )


     ORDER DENYING BENJAMIN ACUNA’S MOTION FOR RECONSIDERATION.

I.          INTRODUCTION AND BACKGROUND FACTS.

            This court previously denied Defendant Benjamin Acuna’s

motion for change of venue.        See Order Denying Defendants’

Motions for Change of Venue (April 11, 2008).              Acuna now moves

for reconsideration of that motion, based on the recent guilty

pleas by certain co-defendants.          Acuna argues that transfer to

the District of Nevada is warranted because all the remaining co-

defendants are from Las Vegas, Nevada, and because Acuna’s

alleged overt acts committed in furtherance of the conspiracy

occurred in Las Vegas.       The court concludes that transfer of

venue is not warranted.       Acuna’s motion for reconsideration is

denied.

            The factual background of this case was summarized in

this court’s previous order.        See id. at 2-4.        Those facts are

incorporated into this order.
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II.         LEGAL STANDARD.

            Rule 21(b) of the Federal Rules of Criminal Procedure

provides for transfer of a trial based on the convenience of the

parties: “Upon the defendant’s motion, the court may transfer the

proceeding, or one or more counts, against that defendant to

another district for the convenience of the parties and witnesses

and in the interest of justice.”            Fed. R. Crim. P. 21(b).

            The granting of such a motion rests wholly within the

discretion of the trial court.          See United States v. Testa, 548

F.2d 847, 856 (9th Cir. 1977).

III.        ANALYSIS.

            Acuna argues that venue should be transferred based on

the “location of the defendants and witnesses, the location of

the events in issue in the case, and the location of pertinent

documents and records.”        Motion to Reconsider Defendant Benjamin

Acuna’s Motion for Change of Venue (July 11, 2008) (“Motion”) at

2.    Acuna is also concerned that the remaining defendants will be

unable to get a “jury of their peers where the Hispanic

population in Hawaii is almost non-existent when compared with

that in Las Vegas.”      Id.   The court disagrees with both points.

            As an initial matter, this court notes that venue is

proper in the District of Hawaii because Acuna has been charged

with conspiracy, and venue is appropriate in any district where

an overt act committed in furtherance of that conspiracy took


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place.    See 18 U.S.C. § 3237(a); United States v. Ahumada-Avalos,

875 F.2d 681, 682 (9th Cir. 1989).            Thus, the only issue is

whether this court, in its discretion, should transfer venue for

the convenience of the parties.         Fed. R. Crim. P. 21(b).

            The Ninth Circuit has considered a situation similar to

the one before the court in Testa, 548 F.2d 847.                 In Testa, the

appellant, Edward Epstein, was convicted of conspiracy with

intent to distribute heroin.       Epstein appealed his conviction,

arguing that the trial court improperly denied his motion for

change of venue, and that the trial should have taken place in

the Central District of California rather than the District of

Hawaii.    Six of Epstein’s co-defendants, some of whom were Hawaii

residents, pleaded guilty before trial.              Epstein and the

remaining co-defendant were residents of California, and the

overt acts they committed in furtherance of the conspiracy were

committed in California and Nevada.             Epstein argued that he had

been deprived of due process and a right to a fair trial because

“the costs of traveling to Hawaii and living there precluded him

from producing witnesses from Los Angeles on his behalf, and the

government would not have been inconvenienced by the change of

venue.”    Id. at 856.

            The Ninth Circuit disagreed.            Looking to Rule 21(b) of

the Federal Rules of Criminal Procedure, the court first noted

that “determination of a Rule 21(b) motion involves the sound


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discretion of the trial court.”         Id.      The Ninth Circuit concluded

that Epstein did not demonstrate a need for a transfer because he

did not provide specific examples of how his location precluded

him from contacting witnesses, or indicate the nature of the

testimony he anticipated from the alleged witnesses.                 See also

United States v. Daewoo Industrial Co., Ltd., 591 F. Supp. 157,

160 (D. Or. 1984) (“The Ninth Circuit has required more than a

bald statement of numbers and general location of witnesses in

the cases where the issue of witness convenience is addressed.”).

Further, Epstein failed to consider the burden that a change of

venue would have on the Government: “While Rule 21(b)contemplates

minimization of inconvenience to the defense, it has been

recognized that some degree of inconvenience is inevitable, and

that the government’s inconvenience must be considered as well.”

Id. at 857.    See also United States v. Ghilarducci, 220 Fed.

Appx. 496, 504 (9th Cir. 2007) (affirming the district court’s

denial of the defendant’s motion for change of venue from

California to Illinois, and noting that the Government had an

interest in trying the case in California because the acts of

mail fraud occurred in California and the witnesses were in

California).     The Ninth Circuit concluded that the district court

did not abuse its discretion in denying Epstein’s motion for

change of venue.




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            Similarly, in United States v. Schoor, 597 F.2d 1303

(9th Cir. 1979), the Ninth Circuit concluded that the defendant,

charged with conspiracy to import heroin into the United States

and to possess and distribute heroin, was properly tried in the

Northern District of California even if it would have been more

convenient for him to be tried in New York or Miami.                 The

defendant was arrested in San Francisco, while catching a

connecting flight to Miami.       He planned to pick up heroin in

Miami, where he kept the bulk of his business records.                  He argued

that venue should have been transferred to New York or Miami

because the majority of his character witnesses would have come

from New York or Miami, and because his business records were in

Miami.    Id. at 1307-08.    The Ninth Circuit affirmed the district

court’s denial of the defendant’s motion to transfer venue,

noting that the defendant failed to consider the convenience of

the Government, which weighed in favor of trial in San Francisco.

The Ninth Circuit also noted that the defendant did not

demonstrate how his business records would have refuted the

government’s case, or why the defendant was unable to get his

business records for trial.       Id. at 1308.

            Acuna’s arguments are similar to the arguments rejected

by the Ninth Circuit in Testa and Schoor.               Acuna lists the

location of the defendants, witnesses, events, and documents as

supporting transfer to the District of Nevada.                The mere listing


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of such considerations, without more, does not show that venue

should be transferred.      See Testa, 548 F.2d at 857.             Acuna does

not specify which witnesses may be precluded from testifying

because of the location of the trial, or the nature of their

testimony.    Nor does Acuna claim that he is unable to retrieve

“pertinent documents” because of the location of the trial.                   It

may be that being in custody makes it difficult to get documents,

but he may be in custody even if venue is transferred.

            Although Acuna contends that the “cost to the taxpayer

will . . . be aggravated by a trial in Hawaii,” the Government

disagrees, citing to the current location of Government witnesses

and the prosecuting attorneys.          Motion at 2; United States’

Response and Opposition to Acuna’s Motion to Reconsider His

Motion for Change of Venue (July 16, 2008) (“Opp’n”) at 3.                   The

trial of this case is scheduled to begin in a few weeks.                  All the

prosecuting attorneys and approximately sixteen of the Government

witnesses are currently located in Hawaii.               Of these sixteen,

eight are cooperating defendants currently in custody at the

Federal Detention Center in Honolulu.             The investigation of this

case, which began in August 2005, has resulted in the indictment

of twenty-two individuals, eighteen of whom have either pled

guilty or been convicted at trial, all in the District of Hawaii.

See id. at 2-3.     Even if the cost of trial will be greater in

Hawaii than in Nevada, consideration of cost alone does not


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warrant transfer of venue.       See Platt v. Minnesota Mining &

Manufacturing Co., 376 U.S. 240, 243-44 (1964) (listing ten

factors to consider for determining whether venue should be

transferred, only one of which addresses costs).

            Acuna also questions whether “remaining defendants can

get a jury of their peers where the Hispanic population in Hawaii

is almost non-existent when compared with that in Las Vegas.”

Motion at 2.     Acuna’s right to have a jury of his peers does not

translate into a right to have a jury or even the jury pool

composed of members with his racial background.                The Constitution

only prohibits the State from purposefully excluding jury members

belonging to a certain racial group, see Castaneda v. Partida,

430 U.S. 482, 493 (1977), and a defendant does not have a “right

to demand that members of his race be included” in the jury.

Alexander v. Louisiana, 405 U.S. 625, 628 (1972).                 Here, there is

no allegation or evidence of purposeful exclusion by the

Government of Hispanic jury members.

            In United States v. Granillo, 288 F.3d 1071 (8th Cir.

2002), the defendant argued that the district court had abused

its discretion by denying his motion for change of venue, based

on his claim that Hispanics were under-represented in the

district where he was tried.       Although the defendant presented

evidence showing that Hispanics constituted a small proportion of

the population in that district, the Eighth Circuit noted that he


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“did not present evidence indicating that his ethnic background

would prevent jurors from being fair and impartial or that

Hispanics were otherwise the target of purposeful discrimination

in the jury selection process.”         Id. at 1075.         The Eight Circuit

concluded that the district court had not abused its discretion

in denying the defendant’s request for change of venue.

            Acuna has not even presented evidence substantiating

his claim that the “Hispanic population in Hawaii is almost non-

existent when compared with that in Las Vegas.”                Even if Acuna

were to present such evidence, he would still need to demonstrate

how a smaller Hispanic population in Hawaii would preclude him

from receiving a fair and impartial trial.               Acuna’s mere

statement that he may not be able to get a jury of his peers is

insufficient to warrant transfer of venue.

IV.         CONCLUSION.

            For the foregoing reasons, Acuna’s motion for

reconsideration is denied.




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            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, July 21, 2008.




                               /s/ Susan Oki Mollway
                              Susan Oki Mollway
                              United States District Judge




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